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                 IN THE UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF ARKANSAS
                            HARRISON DIVISION
 In Re:

 MARILYN L. ERICKSON                                     Case No. 3:19-bk-70508
 Debtor                                                  Ch. 7


    APPLICATION TO APPROVE EMPLOYMENT OF SPECIAL COUNSEL

       Bianca Rucker, the duly appointed and acting Trustee for the above-captioned

estate (“Trustee”), for her Application to Approve Employment of Special Counsel

pursuant to Bankruptcy Rule 2014, respectfully states:

       1.      On February 25, 2019, the Debtor filed a voluntary Chapter 7 bankruptcy

proceeding, and Bianca Rucker was appointed Trustee.

       2.      The Trustee wishes to employ Jennifer Gray of Watkins, Boyer, Gray &

Curry, PLLC (the “Firm”), which maintains an office at 1106 W. Poplar St., Rogers,

Arkansas, an attorney admitted to practice in Arkansas and in this Court, as legal

counsel in this case to assist the Trustee with an eviction.

       3.      The Trustee has selected the Firm because it has valuable experience in

evictions.

       4.      To the best of Trustee's knowledge, the Firm has no connection with the

creditors, any other party in interest, or their respective attorneys, except as set forth

herein on Exhibit A, and the Trustee believes the Firm’s employment is in the best

interest of this estate.

       5.      To the best of Trustee's knowledge, neither Jennifer Gray nor the Firm

holds or represents any adverse interest to the estate and both are disinterested within

the meaning of 11 U.S.C. §§ 101(14) and 327(a).

       6.      The Firm charges $275.00 per hour for attorney work and $75.00 per hour
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for paralegal work. The Firm understands that recovery of fees and costs is subject to

Trustee review, Court approval and sufficient proceeds in the bankruptcy estate.

       WHEREFORE, the Trustee respectfully requests that her Application to Approve

Employment of Special Counsel is approved, and for all other relief to which she is

entitled.



                                                 Respectfully submitted

                                                 /s/ Bianca Rucker
                                                 Bianca Rucker (2006310)
                                                 One East Center Street, Suite 215
                                                 Fayetteville, AR 72701
                                                 (479) 445-6340
                                                 ruckerlaw@outlook.com
                                                 Counsel for Trustee

                             CERTIFICATE OF SERVICE

       I certify that on August 14, 2019, the foregoing Application was filed with the
Clerk of the Court via the CM/ECF filing system which will generate a Notice of
Electronic Filing of the above pleading to all registered CM/ECF Filing Users in the
above-captioned case, including the debtors’ counsel and the U.S. Trustee.


                                                         /s/ Bianca Rucker
                                                         Bianca Rucker
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